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                   IN THE UNITED STATES COURT OF FEDERAL CLAIMS

DEKATRON CORP.,                                 )
                                                )
               Plaintiff,                       )
                                                )
v.                                              )       No. 15-cv-1167-NDF
                                                )       (Judge Firestone)
THE UNITED STATES,                              )
                                                )
               Defendant.                       )
                                                )


                                   JOINT STATUS REPORT

       Pursuant to the Court’s April 21, 2016 order, plaintiff DekaTron Corporation and

defendant, the United States, respectfully submit the following joint status report regarding the

status of settlement negotiations in the action No. 4428 pending before the Civilian Board of

Contract Appeals (CBCA). The parties report to the Court that effective May 20, 2016, the

parties settled the CBCA action and that they intend to submit a joint motion to dismiss that case

shortly. Accordingly, because the parties have reached a settlement in the CBCA action, transfer

of the present case to the CBCA pursuant to 41 U.S.C. § 7107(d) would not be appropriate.




                                                    Respectfully submitted,

                                                    BENJAMIN C. MIZER
                                                    Principal Deputy Assistant Attorney General

                                                    ROBERT E. KIRSCHMAN, JR.
                                                    Director

                                                     s/ Steven J. Gillingham
                                                    STEVEN J. GILLINGHAM
                                                    Assistant Director
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   s/ Ralph C. Thomas III                     s/ Igor Helman
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June 6, 2016




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                                  CERTIFICATE OF SERVICE

       I certify under that on this 6th day of June, 2016, a copy of the foregoing “JOINT

STATUS REPORT” was filed electronically. I understand that notice of this filing will be sent

to all parties by operation of the Court’s electronic filing system. Parties may access this filing

through the Court’s system.




                                         s/ Igor Helman
